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AO 106(Rev. 04/10) Application for a Search Warrant



                                     UNITED STATES DI.STRICT COURT
                                            RE CF-Int/
                                                       Middle District,f 4,1**Ana
                                                      1 rp)'t-i 1-1
                                                       1                 ). "
             In the Matter of the Search of
                                                                p , r .r7TT C'
         (Briefly describe the property to be searched-,7
          or identin) the person by name and address)-'

    Cellular Telephone Assigned Call Numb&(786)
                                                                      )
                                                                      )
                                                                                  Case No.   07:/qm0-1/67-5-#1,o
  409-1235, IMEI Number 353308087532453, that is                      )
   stored at premises controlled by Verizon Wireless                  )

                                            APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

                                                               See Attachment A
located in the              Middle               District of            Alabama               , there is now concealed (identify the
person or describe the property to be seiled):
                                                               See Attachment B


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               Mievidence of a crime;
                IT(contraband, fruits of crime, or other items illegally possessed;
                Fir property designed for use, intended for use, or used in committing a crime;
                71 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                         Offense Description
        21 USC § 841(a)(1), 843(b),               Possession with Intent to Distribute a Controlled Substance; Use of a
        846; 18 USC § 1952, 1956                  Communications Facility; Conspiracy to Possess with Intent to Distribute a
                                                  Controlled Substance; Interstate Travel in Aid of Racketeering; Money Laundering
         The application is based on these facts:
        See attached affidavit incorporated herein by reference and made part of this application.


          14 Continued on the attached sheet.
          71 Delayed notice of       days (give exact ending date if more th 30 days:                                 )is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on t  tach sheet.



                                                                                                 want's signature

                                                                            SA Todd Mims, Drug Enforcement Administration
                                                                                             Printed name and title

Sworn to before me and signed in my presence.


Date:      "(71771
                                                                                               Judge s s   ature

City and state: MONTGOMERY, AL                                             STEPHEN M. DOYLE, U.S. MAGISTRATE JUDGE
                                                                                             Printed name and title
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA

IN THE MATTER OF THE SEARCH OF
INORMATION ASSOCIATED WITH THE
CELLULAR TELEPHONE ASSIGNED
CALL NUMBER(786)409-1235, AND
                                                  Case No. a:                19-51)110
WITH IMEI NUMBER 353308087532453,
                                                            Filed Under Seal
THAT IS STORED AT PREMISES
CONTROLLED BY VERIZON WIRELESS



                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Todd Mims, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

                1.    I make this affidavit in support of an application for a search warrant for

information associated with a certain cellular telephone assigned call number (786)409-1235,

with International Mobile Subscriber Identity/Electronic Serial Number IMEI 353308087532453

("SUBJECT PHONE"),that is stored at premises controlled by Cellco Partnership DBA

VERIZON WIRELESS,a wireless telephone service provider, headquartered at 180 Washington

Valley Road, Bedminster, New Jersey. The information to be searched is described in the

following paragraphs and in Attachment A. This affidavit is made in support of an application

for a search warrant under 18 U.S.C. § 2703(c)(1)(A)to require VERIZON WIRELESS to

disclose to the government copies of the information further described in Section I of Attachment

B. Upon receipt of the information described in Section I of Attachment B, government-

authorized persons will review the information to locate items described in Section II of

Attachment B.

       2.     I am a Task Force Officer("TFO") with the United States Department of Justice,

Drug Enforcement Administration ("DEA"). I am currently assigned to the New Orleans Field
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Division of the DEA, Montgomery Resident Office ("Montgomery RO"). I have been assigned

to DEA for approximately six months. Prior to serving as a TFO with DEA,I was the

Commander of the Central Alabama Drug Task Force for approximately eleven years. I am

employed by the Elmore County Sheriffs Office, and have been so employed for approximately

twenty years. I have worked narcotics investigations for approximately eighteen years. I also

served as TFO with DEA from 2003 until 2007 prior to being promoted to Commander. I have

investigated violations of federal narcotics laws. I have executed and assisted in the execution of

numerous federal and state search warrants that resulted in the arrest ofsuspects and the seizure

of money and narcotics. I have also interviewed drug dealers, users, and confidential informants

and have discussed with them the lifestyle, appearances, and habits of drug dealers and users, the

use and meaning of coded language, and the concealment of assets. I have also participated in

other aspects of narcotics investigations, including, but not limited to, undercover operations,

conducting physical and electronic surveillance, controlled deliveries, execution of warrants, and

arrests. I have monitored meetings and consensual telephone conversations between drug

dealers and informants and undercover agents and have participated in physical surveillance of

narcotics traffickers. During these surveillances, I have personally observed narcotics

transactions, counter-surveillance techniques and the methods that narcotics traffickers use to

conduct clandestine meetings. I am familiar with the manner in which narcotics traffickers use

telephones, cellular telephone technology, coded or slang-filled telephone conversations, false or

fictitious identities, and other means to facilitate their illegal activities and thwart law

enforcement investigations. Your affiant's training and experience also includes: the various

means and methods by which drug traffickers import and distribute drugs; their use of cellular

telephones and calling cards to facilitate drug activity, and their use of numerical codes and code

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words to conduct drug transactions. Your affiant is also familiar with the ways that drug

traffickers conceal, convert, transmit, and transport their drug proceeds, including but not limited

to, the use of carriers to transport currency and proceeds, and the use of third parties to purchase

or hold title to assets.


        3.      The facts sets forth in this affidavit are based upon my personal observations, my

training and experience, and information obtained from other agents and witnesses. This

affidavit is meant to show that there is merely sufficient probable cause for the requested warrant

and does not set forth all my knowledge in the matter.


        4.      Based on the facts set forth in this affidavit, there is probable cause to believe

violations of federal law, including, but not limited to, Title 21, United States Code, Sections

841(a)(1), Possession with the Intent to Distribute and Distribution of Controlled Substances;

843 (b), Use of a Communications Facility to Commit a Controlled Substance Felony; 846,

Conspiracy to Possess with the Intent to Distribute and Distribute Controlled Substances; and

Title 18, United States Code, Sections 1952, Interstate Travel in Aid of Racketeering (ITAR);

and 1956, Laundering of Monetary Instruments.


                                       PROBABLE CAUSE


        5.      The United States, including DEA,is conducting a criminal investigation of

Kelvin Jones and other unidentified subjects regarding possible violations of Title 21, United

States Code, Section 841(a)(1).


        6.      During May 2018, agents from the DEA Montgomery Resident Office initiated an

investigation into a drug trafficking organization in Luverne, AL based on information that the

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organization was trafficking cocaine and methamphetamine in Central and South Alabama.

During the course of the investigation agents identified Devarlos Shanklin as a subject selling

methamphetamine and cocaine for the organization.


       7.      On February 19, 2019, the Honorable W. Keith Watkins, United States District

Judge, Middle District of Alabama, signed an order authorizing a wire intercept of AT&T

wireless cellular telephone number 334-429-1885 (Target Telephone 1) a cellular telephone used

by Devarlos SHANKLIN to communicate with his drug trafficking associates.


       8.      On February 23, 2019, at approximately 12:39 PM,CST, agents monitoring the

court authorized wire intercept of Target Telephone 1, intercepted an incoming call (Session No.

928)from cellular telephone number 404-401-2079, which agents learned was being used by

Kelvin Jones. During the call, Jones stated,"Ninety Five" and Shanklin stated,"What's up?"

Jones stated, "I said Ninety five (95)." Shanklin replied,"What?" Jones again stated "95" and

Shanklin asked,"95 what?" Jones stated,"For the 9". Shanklin stated, "I don't have fifty-five."

Shanklin then asked,"What can I get 4 for?" Jones replied, "I'd have to call him back and see, I

ain't sure. Because he gave me a price, he gave me a price on really a halftime."


       9.      Based on my training, experience and knowledge of this investigation, your

affiant believes when Jones stated "95", Jones is referring to $9,500 and when Jones stated,"for

the 9", and Jones is referring to 9 ounces of cocaine. Further, your affiant believes Jones is

referring to $9,500 for 9 ounces based on your affiant's knowledge of current drug prices for

cocaine. Your affiant has also conducted controlled purchases of ounces of cocaine from

Shanklin utilizing a confidential source. Your affiant also believes when Jones stated,"he gave

me a price on really a halftime." Jones is telling Shanklin he got a price for half of a kilogram of

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cocaine from his source of supply. Your affiant is also familiar with a half kilogram being

referred to as a "half time" based on training, experience and knowledge of this investigation.


        10.    On March 29, 2019, the Honorable W. Keith Watkins, United States District

Judge, Middle District of Alabama, signed an order authorizing a wire intercept of AT&T

wireless cellular telephone number(404)401-2079 (Target Telephone 2), a cellular telephone

used by Kelvin Jones to communicate with his drug trafficking associates.


       11.     On April 2, 2019 at approximately 12:33 CST, agents monitoring the court

authorized wire intercept of Target Telephone 2 intercepted an incoming call (Session No. 817)

from cellular telephone number (786)409-1235("SUBJECT PHONE"), which agents learned

was being used by an unknown male(UM1235). During the call, Jones stated,"uh, that wasn't

some of that somebody brought back was it?" UM1235 replied "uh hu". Jones then said "Shit, I

had my people who went to the kitchen complaining about it and I just had somebody hit me up,

Hell they talking about man. They want to bring that shit back I ain't got..." UM1235 spoke up

and said "nah, I ain't never had no, I mean that whole little thang ain't nobody said nothing about

it." Jones then replied,"now see, when I got it I did notice the way it smelled, like it was some

laundry mat or some washing powders or some shit." UM1235 replied "Well see, that probably,

that was probably how they delivered it in washing powder because that's how they be

delivering it in them boxes".


       12.     Based on my training, experience and knowledge of this investigation, your

affiant believes the conversation intercepted on Target Telephone 2 session 817 was a

conversation in reference to drugs that Jones received from UM1235. Your affiant knows that

session 817 was preceded by a series of text messages between Target Telephone 2 and an
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unknown individual. In this text message conversation, the unknown individual was describing

troubles that they were having in "cookine something that the unknown individual had received

from Jones. Your affiant believes that the unknown individual was trying to "cook" powder

cocaine into crack. When Jones stated to UM1235 "uh, that wasn't some of that somebody

brought back was it?" your affiant believes Jones is asking UM1235 if Jones had received

cocaine that UM1235 had already had returned from another customer. Your affiant further

believes that when UM1235 replied "nah, I ain't never had no, I mean that whole little thang

ain't nobody said nothing about it" that UM1235 was telling Jones that UM1235 had not had

other customers complain about the quality of the cocaine. Your affiant believes that when Jones

inquired about the smell of the cocaine and UM1235 replied "Well see, that probably, that was

probably how they delivered it in washing powder because that's how they be delivering it in

them boxes," that UM1235 was describing that the cocaine was shipped to UM1235 or

UM1235's source of supply in boxes that contained some type of washing or cleaning detergent

to conceal the cocaine.


       13.      In my training and experience, I have learned that VERIZON WIRELESS is a

company that provides cellular telephone access to the general public. I also know that providers

of cellular telephone service have technical capabilities that allow them to collect and generate

information about the locations of the cellular telephones to which they provide service,

including cell-site data, also known as "tower/face information" or "cell tower/sector records."

Cell-site data identifies the "cell towers"(i.e., antenna towers covering specific geographic

areas) that received a radio signal from the cellular telephone and, in some cases, the "sector"

(i.e., faces ofthe towers)to which the telephone connected. These towers are often a half-mile

or more apart, even in urban areas, and can be 10 or more miles apart in rural areas.
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Furthermore, the tower closest to a wireless device does not necessarily serve every call made to

or from that device. Accordingly, cell-site data provides an approximate location of the cellular

telephone but is typically less precise than other types of location information, such as E-911

Phase II data or Global Positioning Device ("GPS")data.


        14.    Based on my training and experience, I know that VERIZON WIRELESS can

collect cell-site data about the SUBJECT PHONE. I also know that wireless providers such as

VERIZON WIRELESS typically collect and retain cell-site data pertaining to cellular phones to

which they provide service in their normal course of business in order to use this information for

various business-related purposes.

        15.    Based on my training and experience, I know that Verizon also collects per-call

measurement data, which Verizon also refers to as the "real-time tool"("RTT"). RTT data

estimates the approximate distance of the cellular device from a cellular tower based on the

speed with which signals travel between the device and the tower. This information can be used

to estimate an approximate location range that is more precise than typical cell-site data.

        16.    Based on my training and experience, I know that wireless providers such as

VERIZON WIRELESS typically collect and retain information about their subscribers in their

normal course of business. This information can include basic personal information about the

subscriber, such as name and address, and the method(s) of payment(such as credit card account

number) provided by the subscriber to pay for wireless telephone service. I also know that

wireless providers such as VERIZON WIRELESS typically collect and retain information about

their subscribers' use of the wireless service, such as records about calls or other

communications sent or received by a particular phone and other transactional records, in their

normal course of business. In my training and experience, this information may constitute
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evidence of the crimes under investigation because the information can be used to identify the

SUBJECT PHONE's user or users and may assist in the identification of co-conspirators and/or

victims.

                                AUTHORIZATION REQUEST

       17.     Based on the foregoing, I request that the Court issue the proposed search

warrant, pursuant to 18 U.S.C. § 2703(c) and Federal Rule of Criminal Procedure 41.

       18.     I further request that the Court direct VERIZON WIRELESS to disclose to the

government any information described in Section I of Attachment B that is within its possession,

custody, or control. Because the warrant will be served on VERIZON WIRELESS who will

then compile the requested records at a time convenient to it, reasonable cause exists to permit

the execution ofthe requested warrant at any time in the day or night.

       19.     I further request that the Court order that all papers in support of this application,

including the affidavit and search warrant, be sealed until further order of the Court. These

documents discuss an ongoing criminal investigation that is neither public nor known to all of

the targets of the investigation. Accordingly, there is good cause to seal these documents

because their premature disclosure may seriously jeopardize that investigation, including by

giving targets an opportunity to destroy or tamper with evidence, change patterns of behavior,

notify confederates, and flee from prosecution.

                                                      Respectful submitted,

                                                                      .1

                                                      Todd Mims
                                                      Task Force Offic
                                                      Drug Enforcement Administration



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   Subscribed and sworn to before me on             ,2019




..--.•
     STEPHEN . DOYL
     UNITED STATES MAGISTRATE JUDGE




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                                      ATTACHMENT A


                                   Property to Be Searched


       This warrant applies to records and information associated with the cellular telephone

assigned call number(786)409-1235,[with International Mobile Subscriber Identity/Electronic

Serial Number IMEI 353308087532453 ("the Account"), that are stored at premises controlled

by VERIZON WIRELESS ("the Providef'), headquartered at 180 Washington Valley Road

Bedminster, New Jersey.
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                                   ATTACHMENT B


                             Particular Things to be Seized


I. Information to be Disclosed by the Provider

   To the extent that the information described in Attachment A is within the possession,

custody, or control ofthe Provider, including any information that has been deleted but is

still available to the Provider or that has been preserved pursuant to a request made under 18

U.S.C. § 2703(f), the Provider is required to disclose to the government the following

information pertaining to the Account listed in Attachment A for the time period March 5,

2019 to April 5, 2019. The following information about the customers or subscribers of the

Account:

               i. Names (including subscriber names, user names, and screen names);

               ii. Addresses (including mailing addresses, residential addresses, business
                   addresses, and e-mail addresses);

              iii. Local and long distance telephone connection records;

              iv. Records of session times and durations, and the temporarily assigned
                  network addresses(such as Internet Protocol ("IP") addresses) associated
                  with those sessions;

               v. Length of service (including start date) and types of service utilized;

              vi. Telephone or instrument numbers(including MAC addresses, Electronic
                  Serial Numbers("ESN"), Mobile Electronic Identity Numbers("MEIN"),
                  Mobile Equipment Identifier("MEID"); Mobile Identification Number
                  ("MIN"), Subscriber Identity Modules ("SIM"), Mobile Subscriber
                  Integrated Services Digital Network Number("MSISDN"); International
                  Mobile Subscriber Identity Identifiers ("IMSI"), or International Mobile
                  Equipment Identities ("IMEI");

             vii. Other subscriber numbers or identities (including the registration Internet
                  Protocol ("IP") address); and

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                 viii. Means and source of payment for such service (including any credit card
                       or bank account number)and billing records.

           b. All records and other information (not including the contents of communications)

               relating to wire and electronic communications sent or received by the Account,

               including:

                   i. the date and time of the communication, the method of the

                       communication, and the source and destination of the communication

                      (such as the source and destination telephone numbers (call detail

                       records), email addresses, and IP addresses); and

                   ii. information regarding the cell towers and sectors through which the

                       communications were sent and received and any available RTT,PCMD,

                       NELOS,and other historical GPS Precision Location Information

                       associated with the transactions to include timing advance records such as

                       TRUE CALL.

   II. Information to be Seized by the Government

       All information described above in Section I that constitutes [evidence, fruits,

contraband, and instrumentalities] of violations of violations of federal law, including, but not

limited to, Title 21, United States Code, Sections 841(a)(1),Possession with the Intent to

Distribute and Distribution of Controlled Substances; 843 (b), Use of a Communications Facility

to Commit a Controlled Substance Felony; 846, Conspiracy to Possess with the Intent to

Distribute and Distribute Controlled Substances; and Title 18, United States Code, Sections

1952, Interstate Travel in Aid of Racketeering (ITAR); and 1956, Laundering of Monetary




                                                 3
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Instruments. Involving the account and account holder during the period March 5, 2019 to April

5, 2019.




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